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 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                     ILLINOIS, EASTERN DIVISION




LESTER DOBBEY, et al.,

             Plaintiffs,
v.                                                 Case No. 13-cv-1068

WILLIAM WEILDING, et al.,

            Defendants.                           Hon. Andrea R. Wood



                                EXHIBIT 12
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LOUISVILLE    LEXINGTON   LONDON    FLORENCE   CINCINNATI   INDIANAPOLIS   ORLANDO       JACKSONVILLE          TAMPA




                               KEN TUCKIANA
                                        COURT      REPORTERS




                                      DOBBEY,ET
                                      DOBBEY,    AL.
                                              ET AL.

                                                    V.
                                                    V.

                                    WEILDING, ET
                                    WEILDING, ET AL.
                                                 AL.



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